     Case 2:06-cr-02121-RHW           ECF No. 992      filed 12/28/10   PageID.4757 Page 1 of 1



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 6                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
 7
 8    UNITED STATES OF AMERICA,
 9                                                          NOS. CR-06-2121-RHW-3
                Plaintiff,                                       CR-06-2121-RHW-5
10                                                               CR-06-2121-RHW-9
                v.                                               CR-06-2121-RHW-10
11    JOSE ANTONIO AGUILAR
12    ESQUIVEL, MIGUEL ANGEL                                ORDER DENYING MOTIONS AS
      FARIS CORNEJO, WENDY                                  MOOT
13    SOLEDAD CHIPREZ, and
      EDUARDO HERNANDEZ-
14    HERNANDEZ,

15              Defendants.

16          Before the Court are several motions that remain pending in the above-
17 captioned matters despite the fact that they are moot and/or have been previously
18 ruled upon.
19          Accordingly, IT IS HEREBY ORDERED:
20          Ct. Recs. 569, 613, 622, 627, 629, 731, 734, 839, and 841 are DENIED as
21 moot.
22          IT IS SO ORDERED. The District Court Executive is directed to enter this
23 Order and to provide copies to counsel.
24       DATED this 28th day of December, 2010.
25
26                                        s/Robert H. Whaley
                                       ROBERT H. WHALEY
27                                    United States District Judge
28   Q:\CRIMINAL\2006\06-2121 (Chiprez)\denymoot2.ord.wpd



     ORDER DENYING MOTIONS AS MOOT * 1
